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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

 JAMES TOWNSEND AND LESLIE                         §
 TOWNSEND,                                         §
                                                   §
      Plaintiffs,                                  §          Civil Action No. 4:22-cv-00250
                                                   §
 v.                                                §
                                                   §
 MIDLAND MORTGAGE,                                 §
                                                   §
      Defendant.                                   §
                                                   §

 DEFENDANT’S AGREED MOTION TO CONTINUE SCHEDULING CONFERENCE

        Defendant Midland Mortgage (“Midland” or “Defendant”), files this its Agreed Motion to

Continue Scheduling Conference and shows as follows:

                                          I. SUMMARY

        1.      Plaintiffs James and Leslie Townend (collectively “Plaintiffs”) filed this action on

December 29, 2021 in response to Defendant’s pursuit of a foreclosure of the real property known

as 46 Barley Hall, Spring, Texas 77382 (the “Property”). (See Petition at ⁋8.) This action was

originally filed in the 284th Judicial District Court of Montgomery County, Texas, and was

removed to this Court on January 25, 2022. [ECF No. 1].

        2.      Plaintiffs and Defendant have discussed a possible resolution of this case.

        3.      To avoid unnecessary attorney’s fees and expense, Plaintiff and Defendant agree

that the March 4, 2022 Initial Pretrial and Scheduling Conference presently scheduled in this

matter [ECF No. 3] should be continued by 30 days so that the parties may continued to discuss a

resolution of this case.




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       WHEREFORE, PREMISES CONSIDERED, Defendant respectfully prays that the

Court continue the March 4, 2022 Initial Pretrial and Scheduling Conference presently set in this

matter by 30 days. Defendant requests all other relief to which it may be entitled.

                                                       Respectfully submitted,

                                                 By:     /s/ Mark D. Cronenwett
                                                       MARK D. CRONENWETT
                                                       Attorney in Charge
                                                       Texas Bar No. 00787303
                                                       Southern District Bar No. 21340
                                                       mcronenwett@mwzmlaw.com

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                                                 14160 North Dallas Parkway, Suite 900
                                                 Dallas, Texas 75254
                                                 Telephone: (214) 635-2650

                                                 Attorneys for Defendant


                             CERTIFICATE OF CONFERENCE

        I hereby certify that I have conferred with Jacob Hyde, counsel for Plaintiff, and Mr. Hyde
is in agreement with this motion.
                                                             /s/ Mark D. Cronenwett
                                                             MARK D. CRONENWETT


                                CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing document has been served
via ECF notification on February 17, 2022 on the following counsel of record:

       Jacob Hyde
       Jacob.hyde.law@gmail.com
       Hyde Law, PLLC
       7 Switchbud Place, Ste. 192-275
       The Woodlands, Texas 77380
       Counsel for Plaintiffs
                                                              /s/ Mark D. Cronenwett
                                                              MARK D. CRONENWETT




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